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AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Amended Judgment in a Criminal Case - Reason:
                             V.                                       Correction of Sentence for Clerical Mistake (fed. R. Crim. P. 36)

                       Ramon Gonzalez Jr.                             (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 1:12CR00128-003JB
                                                                      USM Number: 65048-051
                                                                      Defense Attorney: Paul Kennedy/Justine Fox-Young, Retained
THE DEFENDANT:

c    pleaded guilty to count(s) 7 through 13 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                         Offense Ended               Count
                                                                                                                        Number(s)
31 USC            Structuring Transactions to Evade Reporting Requirement                   04/13/2009                  7
5324(a)(1);(a)(3)
and (d)(1);(d)(2)

31 USC            Structuring Transactions to Evade Reporting Requirement                   10/28/2009                  8
5324(a)(1);(a)(3)
and (d)(1);(d)(2)

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
c    Count s 1 and 17 are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      January 16, 2014
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      March 26, 2014
                                                                      Date Signed
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Defendant: Ramon Gonzalez Jr.
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                                             ADDITIONAL COUNTS OF CONVICTION

Title and Section Nature of Offense                                                Offense Ended       Count
                                                                                                       Number(s)
31 USC            Structuring Transactions to Evade Reporting Requirement          06/04/2010          9
5324(a)(1);(a)(3)
and (d)(1);(d)(2)

31 USC            Structuring Transactions to Evade Reporting Requirement          09/24/2010          10
5324(a)(1);(a)(3)
and (d)(1);(d)(2)

31 USC            Structuring Transactions to Evade Reporting Requirement          11/19/2010          11
5324(a)(1);(a)(3)
and (d)(1);(d)(2)

31 USC            Structuring Transactions to Evade Reporting Requirement          04/04/2011          12
5324(a)(1);(a)(3)
and (d)(1);(d)(2)

31 USC            Structuring Transactions to Evade Reporting Requirement          08/22/2011          13
5324(a)(1);(a)(3)
and (d)(1);(d)(2)
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AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 3 of 6


Defendant: Ramon Gonzalez Jr.
Case Number: 1:12CR00128-003JB


                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 60 months
.

Said term is imposed as to each Counts 7 through 13; said terms shall run concurrently.

For the reasons stated on the record at the sentencing hearing held January 16, 2014, the Court varies.

c      The court makes the following recommendations to the Bureau of Prisons:

       The Court recommends the camp at Englewood Federal Correctional Institution, Littleton, Colorado, if eligible.

d      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
c      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       c    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                              RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.




                                                                     UNITED STATES MARSHAL

                                                                    By
                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 12/10) - Sheet 3 - Supervised Release                                                                                   Judgment - Page 4 of 6


Defendant: Ramon Gonzalez Jr.
Case Number: 1:12CR00128-003JB


                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

A term of 3 years is imposed as to each of Counts 7 through 13; said terms will run concurrently for a total term of 3 years.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Criminal Monetary
Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                      STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
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Defendant: Ramon Gonzalez Jr.
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                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant must submit to a search of his person, property, or automobile under his control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting narcotics, large
quantities of cash and other contraband at the direction of the probation officer. He must inform any
residents that the premises may be subject to a search.

The defendant will be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without prior approval of the probation officer.

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial information
in which the defendant has a control or interest.

With the exception of his father, the Defendant shall have no contact with any of the co-defendants in this
case.
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AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 6 of 6


Defendant: Ramon Gonzalez Jr.
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                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $700.00                           $0.00                            $0.00


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.

Consistent with a stipulation in the Plea Agreement, the Defendant forfeits his rights, title, and interest to the vehicles, United
States currency, funds and real property listed in paragraph 19 of the plea agreement.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
